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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA
HAMMOND DIVISION AT LAFAYETTE

In re:
Case No. 24-40167

MAXIMUS SUPPLY CHAIN
HOLDINGS, LLC, et al., Chapter 11

Debtors.4 (Joint Administration Requested)

INTERIM ORDER GRANTING DEBTORS’ FIRST DAY MOTION FOR
ENTRY OF INTERIM AND FINAL ORDERS AUTHORIZING DEBTORS TO
USE CASH COLLATERAL FOR OPERATING EXPENSES AND GRANTING

REPLACEMENT LIENS TO SECURED CREDITORS AND NOTICE OF

FINAL HEARING

This matter having come before the Court on Debtors’ First Day Motion for
Entry of Interim and Final Orders Authorizing Debtors to Use Cash Collateral for
Operating Expenses and Granting Replacement Liens to Secured Creditors (the “Cash
Use Motion”), filed by Maximus Supply Chain Holdings, LLC; Maximus Transport
Systems, LLC; Maximus Logistics Corporation; Maximus Industries Corporation;
Maximus Logistics Solutions, LLC; Action SCS, LLC; GC8 Logistics, LLC; and GC3
Warehousing, LLC, as debtors and debtors-in-possession (each a “Debtor”:
collectively, the “Debtors” or “Maximus Group”), pursuant to 11 U.S.C. §§ 105(a),

363(b), 507(a)(4) and (a)(8), seeking an Order authorizing Debtors use of Cash

4 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number are: Maximus Supply Chain Holdings, LLC (6729); Maximus Transport Systems, LLC
(9839); Maximus Logistics Corporation (0372); Maximus Industries Corporation (0902); Maximus
Logistics Solutions, LLC (0372); Action SCS, LLC (1633); GC3 Logistics, Inc. (8844); and GC3
Warehousing, LLC (4132).
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Collateral5 as defined by 11 U.S.C. § 363(a) for operating expenses on an interim basis
through a hearing on a final Order, and the granting of replacement liens,; and

In support of said Cash Use Motion, Debtors have testified that without the
relief requested therein, Debtors will not be able to operate their businesses for more
than a few days until a final hearing on this Cash Use Motion can be held.

Debtors have proposed adequate protection for the use of Cash Collateral in

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the form of a replacement lien on allinventory and receivables, the maintenance of
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insurance coverage on its assets, payment of current taxes, and en@eme financial
reporting to the Creditors upon request regarding the status of their operations and
income. This interim adequate protection is to continue until further Order,
including any Order approving any stipulation between any of the Debtors and any
Creditor for other or additional adequate protection. —
AvVHE,

The Court held an interim hearing on the Cash Use Motion ondary 25, 2024.

The Court now finds that good cause exists for granting the requested relief in
the Cash Use Motion and that authorizing Debtors to use Cash Collateral on an
interim basis on the terms set forth in the Cash Use Motion is in the best interest of
Debtors, their estates, and their creditors.

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IT IS THEREFORE O wo 8 ADJUDGED AND DECREED thats
vent :
| Debtors are authorized to use Cash Gollater alin accordance with the proposed budget

5 Capitalized terms use but not otherwise defined herein shall have the mearing ascribed to them in
the Cash Use Motion.
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attached to the Cash Use Motion as Exhibit A to facilitate ongoing operations for the
preservation of value of Debtors’ businesses.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that as
adequate protection for the use of Cash Collateral, all Creditors with an interest in
Cash collateral shall have a replacement lien on the Debtor's postpetition Cash
Collateral assets in the same priority and to the same extent as existed as of the

Petition Date, if any.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that a final

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hearing on the Cash Use Motion will be held on \ AN 22. , 2024 at

(OC a.m./gam. in Room 2127, Federal Buildi g, 1300 S. Harrison Street, Fort
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IT IS FURTHER ORDERED, ADJUDGED AN DECREED that Debtors

shall serve a copy of this Order upon all crediters and parties in interest and make

due proof thereof.

SO ORDERED.
Dated: June 28, 2024

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ana Bankruptcy

